Case 8:07-cr-00454-JSM-TGW Document 441 Filed 10/29/08 Page 1 of 6 PageID 1128
Case 8:07-cr-00454-JSM-TGW Document 441 Filed 10/29/08 Page 2 of 6 PageID 1129
Case 8:07-cr-00454-JSM-TGW Document 441 Filed 10/29/08 Page 3 of 6 PageID 1130
Case 8:07-cr-00454-JSM-TGW Document 441 Filed 10/29/08 Page 4 of 6 PageID 1131
Case 8:07-cr-00454-JSM-TGW Document 441 Filed 10/29/08 Page 5 of 6 PageID 1132
Case 8:07-cr-00454-JSM-TGW Document 441 Filed 10/29/08 Page 6 of 6 PageID 1133
